Case 2:04-cr-20471-BBD Document 70 Filed 05/23/05 Page 1 of 2 PagelD 74

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE q§ v 9
WESTERN D|VISiON

 

 

 

UN|TED STATES OF AMER|CA
P|aintiff
VS.
CR ~O 2:::3:‘:‘: 3/
CHARLOTTE CRAWFORD

Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PERlOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/lay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date and requested a Change
of Plea hearing date.

The Court granted the request and reset the trial date to J¢'Ily" 5’, 2005 with a
gb@ge of P|ea hearinq date of Thursdav. June 22 2005 at 8:45 a.m., in Courtroom

 

3, 9th F|oor of the Federa| Building, lVlemphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

iT is so oRDERED misng day of i\/iay, 2005.

    

B N|CE B. D ALD
U |TED STATES D|STR|CT JUDGE

rh s document entered or .he docket;heet in com;iiarice
w th Fiu|e' 55 and/or 32 {b) FRCrP on, 2 ga ®

 

   

UNITED S`ATE DISTRICT COUR - WETERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
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Honorable Bernice Donald
US DISTRICT COURT

